      Case 5:21-mj-00224-DUTY Document 12 Filed 04/02/21 Page 1 of 2 Page ID #:30


                                                                                                          FIl ED
     NAME &ADDRESS                                                                           C1.ERY., U.S. L~I~I''~ CT COURT



                                                                                                  APR - L 2021
                                               UNITED STATES DIST]                           ~j~S~'DIS7~iiG ' F C' FOi;!~IIA
                                                                                              TERN p1VISi0i      Y UtPUTY
                                              CBNTRAL DISTRICT OF

                                                                          CASE NUMBER
UNITED STATES OF AMERICA
                                                         PLAINTIFF,
                                    V.

                                                                               CONSBNT TO VIDEO/TELBPHONIC CONPERBNCE
  ~n ~GI `1W`~~'~ usws eeg. r:                                                  AND/OR WAIVER OF DEFENDANT'S PRESENCE
                                                      DEFENDANT(S).                 [
                                                                                    ] AND PROPOSED PINDINGS/ORDER
Check each that applies;
~ CONSENT TO VIDEO CONFERENCEITELEPHONIC CONFERENCE                                          ~WATV~R OP DEFENDANT'S PRESENCE
1.Consent to Video Cmiference/Telephonic Conference
1,               ~                 ~                           ,understand that the U.S. Constitution,the Federal Rules ofCriminal
Procedure, andJor one or more federal statutes may give me the right to have all the below-listed proceedings take place in person in
open court. After consultatton ►vith counsel,Ilaiotivingly and voluntarily consent to the proceedings below instead taking place by
video conference or, if video conference is not reasonably available, by telephonic conference:
Check ench tl~at Rpp!les:

~] Detention/Bail Revie~vlReconsideration Hearings} (18 U.S,C. Sec, 3192)                    ~ Initial Appearance (Fed. R. Crim. P. 5)
     Preliminary Hearing (Fed. R. Cri►n. P. 5.1)                                             ~ Arraignment (Fed. R. Crim. P. 10)
     Pretrial Release Revocation Proceedings (1B U.S,C. Sec. 3148)                           ~ Waiver of indictment (Fed. R, Crim, P, 7(b))
     Misdemeanor Pleas and Sentencings (Fed. R. Crim. P, 43(b)(2})                           ~ Appearances under Fed. R. Crim. P. 90
     Probation and Supervised Release Revocation Proceedings (Fed. R Crim. P. 32.1}
Note: to co►tsei~f to alt appearance Gy video or telephonic conference at ogre of the ttivo proceedi~tgs listed below, you ~n~rst nlso co»rplete
ilia "Proposed Flndiirgs"section ors page 2 of thisforn~.
                      Felony Pleas (Fed. R. Crim. P. 11}             ~ Felony 5entencings (Fed. R. Crlm. P. 32)

2. Waiver of Defendant's Presence
I,                                                              , understand that the U.S, Constitution, the Federal Rules of Criminal
Procedure, and/or one or more federal statutes may give me the right to be present at oil of the below-listed proceedings - In person,
by video conference, or by telephonic conference. After consultation with counsel,Iknowingly and voluntarily waive my right to be
present in person in open court or by video conference or by telephonic conference at the proceedings belotiv:

Check each that apples {acrd crse Form CR-35 to wnlve the defendRnt's prese~rce ai other types ofproceedl~rgs);

     Detention/Bail Review/Reconsideration Hearings) (18 U.S.C. Sec. 3142)                   ~ Probation and Sapervised Release Revocation
[] Preliminary Hearing (Fed. R. Crim. P. S.1)                                                    Proceedings (Fed. R. Cr1m. P. 32.1)

     Pretrial Release Revocation Proceedings (18 U.S.C. Sec. 3148)                               Waiver of Indictment (Fed. R. Crim. P. 7(b})
     Misdemeanor Pleas and Sentenc9ngs (Fed. R. Crim. P. 43(b)(2))                               Appearances nder Fed. R. Crim. P. 90

                                                                                      ~r ~u~►~ ~vd~yt~;Z
Date                                                     Defendant                      Signed for Defendant by Counsel for Defendant with
                                                                                        Defendant's Authorization [Check ff applicable]
If1 Custody?                For f►r-c~~stody dejend~nts,
   ~[~ Yes ❑ No             list t~rstltutiar were hairsed:

CR-029 (OB/20)          CONSENT TO VIDSO/'i'gLEPHONIC CONFEItSNCB AND/OR ~VAiVSR OP DBFBNDAIVTS PRESHNCB                                   P. 1 OP 2
    Case 5:21-mj-00224-DUTY Document 12 Filed 04/02/21 Page 2 of 2 Page ID #:31



i heve translated this consent/►vaiver to the Defendant in the                                                           language.



Date                                                 Interpreter (if required)
                                                                                  Signed for Interpreter by Counsel for Defendant with
                                                                                  Interpreters Authorization [Check If applicable


I am counsel for the Defendant herein, Prior to the Defendant signing this document or authorizing me to sign this document on the
Defendant's behalf,I fully advised the Defendant of khe Defendant's above-referenced rights and consulted with the Defendant
regarding such rights and the Defendant's consenthvaiver(s}, 1 believe that the Defendant understands such rights and that the
Defendant's consent/waiver(s) are knowing and voluntary, andiconcur with such consentJ~vaiver(s).



         '2121                                      ~
Date                                                 Counsel



3. Proposed Findings RegardLig Harm of Further Delay of Pelony Plea or Sentencing

Aursuant to 4 15002(b}(2) of the Coronavirus Aid, Relief, and Economic Security ("CARES") Act and § 2 of'Order of the Chief Judge
No. 20-093 (In Re: Coronavirus Public Emergency Use of Video and Telephonic Conference in Certain Criminal Proceedings), felony
pleas and sentencings cannot be conducted other than in person in open court unless the judge makes specific Andings that the plea
or sentencing "cannot be further delayed without serious harm to the interests of Justice." Accordingly, if the defendant intends to
consent to a felony plea or sentencing taking place by video conference or, if video conference is not reasonably available, by
telephonic conference, instead of In person in open court, the defendant must set forth below proposed findings sufficient to make
this showing.




 4.Order Adopting Pindinga Regarding Harm of Further Delay of Pelony Plea or Sentencing

 Pursuant to 4 15002(b)(2) of the Coronavirus A1d, Relief, and Economic Security ("CARES") Act and 4 2 of Order of the Chief Judge
 No. 20-Q43 (In Re: Coronavirus Public L~mergenry Use of Video and Telephon(c Conference in Certain Criminal Proceedings),I
 hereby find that the:
                    [~ Felony Ptes (Fed. R Crim. P, 11)              ~ Felony Sentencing (Fed. R. Crim, P. 32}
 in this case cannot be further delayed without serious harm to the interests of Justice, for the reasons set forth above.



Date                                                  United States District judge


CR•029 (08/20)         CONSIiNT TO VIDCOfCIiLBPHONIC CONFBR$NCBAND/OR WAIVER OF DBF6NDANTS PRSSENCB                                  P. 2 OF 2
